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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

 IN RE:                                            CHAPTER 11

 NORTHEAST GEORGIA                                 CASE NO. 17-22189-JRS
 ANESTHESIA SERVICES, INC.
 d/b/a ANCORA PAIN RECOVERY,
 24 AMHERST, LLC, and                              CASE NO. 17-22188-JRS
 HOLLADAY HOLDINGS, LLC,                           CASE NO. 17-22190-JRS

        Debtors.                                   JOINTLY ADMINISTERED
                                                   UNDER CASE NO. 17-22189-JRS


             FINAL APPLICATION FOR COMPENSATION FOR
           SMALL HERRIN, LLP, AS BANKRUPTCY COUNSEL FOR
                DEBTORS AND DEBTORS-IN-POSSESSION

TO:    HONORABLE JAMES R. SACCA, JUDGE
       UNITED STATES BANKRUPTCY COURT

       NOW COMES SMALL HERRIN, LLP (hereinafter "Applicant"), by and through

the undersigned attorney with said law firm, and pursuant to 11 U.S.C. §§ 330 and 331

applies to the Court as follows:

                                              1.

       Applicant’s attorney, Anna M. Humnicky, was serving as bankruptcy counsel to the

Debtors and Debtors-in-Possession (“Debtors”) pursuant to an Application filed by Cohen

Pollock Merlin & Small, P.C., which was approved by the Court by Order entered

December 14, 2017, effective as of November 14, 2017. On April 13, 2018, Cohen Pollock

Merlin Turner, P.C., f/k/a Cohen Pollock Merlin & Small, P.C. (“CPMT”), filed a Notice
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of Substitution of Counsel, related to which Applicant, became bankruptcy counsel to

Debtors.

                                            2.

      Applicant prays the Court to award it attorney fees on a final basis and authorize

payment thereof in the amount of $150,945.00 for post-petition legal services rendered

from April 1, 2018, through February 15, 2019, plus $6,184.67 in expenses, as bankruptcy

counsel for Debtor Northeast Georgia Anesthesia Services, Inc. (“Northeast”). Of the

amounts requested herein, pursuant to the Order approving the First Interim Application

for Compensation as Bankruptcy Counsel (the “First Application”), Applicant has

previously received payments of $37,974.31 for fees and $6,025.69 for expenses. Further,

of the amounts requested herein, for the time period October 1, 2018, through February 15,

2019, Applicant has not received any payments of for fees or for expenses pursuant to the

Order entered by the Court on December 21, 2017 approving the procedure for payment of

professionals (the “Professional Compensation Order”).

                                            3.

      Applicant prays the Court to award it attorney fees on a final basis and authorize

payment thereof in the amount of $3,080.00 for post-petition legal services rendered from

April 1, 2018, through February 15, 2019, plus $6.30 in expenses, as bankruptcy counsel

for Debtor 24 Amherst, LLC (“Amherst”). Of the amounts requested herein, pursuant to

the Order approving the First Application, Applicant has not received any payments.

Further, of the amounts requested herein, for the time period October 1, 2018, through
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February 15, 2019, Applicant has not received any payments pursuant to the Professional

Compensation Order.

                                           4.

      Applicant prays the Court to award it attorney fees on a final basis and authorize

payment thereof in the amount of $3,520.00 for post-petition legal services rendered from

April 1, 2018, through February 15, 2019, plus $6.60 in expenses, as bankruptcy counsel

for Debtor Holladay Holdings, LLC (“HHL”). Of the amounts requested herein, pursuant

to the Order approving the First Application, Applicant has not received any payments.

Further, of the amounts requested herein, for the time period October 1, 2018, through

February 15, 2019, Applicant has not received any payments pursuant to the Professional

Compensation Order.

                                           5.

      In support of this Application, Applicant attaches hereto and makes a part hereof by

reference Appendices A through E as follows:

      Appendix "A"…………………………………………. Applicable Legal Principles

      Appendix "B” ……………………………Itemization of Post-Petition Professional
                                         Services Rendered (invoices)

      Appendix "C”………………….. .Summary of Recorded Time and Hourly Rates

       Appendix “D"…………………..………………………….. Summary of Expenses

       Appendix "E"………………………… Statement Required by 11 U.S.C. §504 and
                                                 Bankruptcy Rule 2016



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                                             6.

       Applicant has provided numerous services for or on behalf of Debtors, during the

period subsequent to Applicant’s First Application, all of which are itemized in the attached

Appendix “B.” Those services include, without limitation, the following:

       a.     handling monthly billing procedure, including preparation and filing of

              notices related to the same;

       b.     formulating and negotiating terms for use of cash collateral for one additional

              interim period including preparation of one additional proposed interim cash

              collateral Order and budget related thereto, involving two secured creditors;

       c.     negotiating resolution with Advanced Plastic Surgery Solutions, LLC,

              related to adversary proceeding previously filed, including preparation of and

              filing of motion to approve settlement, including attendance at hearing

              regarding same;

       d.     extensive work related to plan confirmation including negotiations with

              numerous creditors, including all major creditors, and the Office of the

              United States Trustee, regarding formal and informal objections to the

              Debtors’ proposed Joint Chapter 11 Plan, ultimately resulting in filing of

              third and fourth amendments to the Joint Chapter 11 Plan and confirmation

              of the Joint Chapter 11 Plan on February 15, 2019;

       e.     addressing issues related to identification of BankSouth as creditor, including

              incorporation of the plan treatment for BankSouth;
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      f.     negotiating requested continuance of confirmation hearing with various

             creditors including preparing and filing motion for payment of adequate

             protection to the United States of America related to Medicare;

      g.     preparing and filing interim fee application for Debtors’ accountant and

             current bankruptcy counsel, as well as attendance at hearings related to the

             same;

      h.     preparing and filing monthly reporting with the Court pursuant to U.S.

             Trustee guidelines;

      i.     preparing and filing motion to extend exclusivity period to for plan

             confirmation, including attendance at hearing related to the same;

      j.     handling routine administrative matters including filing notices related to

             creditor addresses;

      k.     addressing client issues related to post-petition operations; and

      l.     addressing inquiries of and issues raised by various creditors, including

             responding to requests regarding information on timing of payments under

             plan.

                                            7.

      Pursuant to the Professional Compensation Order, the Court approved a procedure

for the payment of professionals in the above-referenced cases, whereby, inter alia,

professionals’ invoices were provided to certain Notice Parties on a monthly basis, and

where no objection was timely raised regarding same after a defined Review Period, the
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professionals were paid 80% of their fees and 100% of their out-of-pocket expenses from

retainers received from Debtors or pursuant to the various Orders entered regarding interim

use of cash collateral, pending hearing by the Court regarding the professionals’ fee

applications.

                                             8.

       Pursuant to the Professional Compensation Order, Applicant submitted invoices for

Debtors covering the time period October 1, 2018, through December 31, 2018, for which

the respective Review Periods passed such that Applicant was approved to receive of 80%

of the invoiced fees and 100% of the invoiced out of pocket expenses, related to which

Applicant has received partial payment through amounts paid to Applicant to hold as a fee

escrow retainer, in accordance with the various Orders entered regarding use of cash

collateral, and apply as applicable objection periods pass without objections being asserted.

Applicant submitted invoices for Debtors covering the time period January 1, 2019,

through January 31, 2019, on February 19, 2019, which the applicable objection period

ends on March 21, 2019. Applicant prepared invoices for Debtors covering the time period

February 1, 2019, through February 15, 2019, but did not send them out for notice pursuant

to the terms of the Professional Compensation Order and will not seek to apply any funds

held in escrow prior to approval of the Application.

                                             9.

       The charts below shows the amount of all invoices submitted by Applicant for fees

incurred by Debtors, from October 1, 2018 through January 31, 2019, pursuant to the
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Professional Compensation Order, plus February 1, 2019 to February 15, 2019, and the

amounts Debtors have paid to Applicant, through funds which Applicant held in its trust

account by post-petition tender by Debtors to Applicant pursuant to the Court’s Orders

entered regarding Debtors’ use of cash collateral, as well as the remaining balance still

owed as of the date of the filing of this Application, including amounts from the First

Interim Application.

              NORTHEAST GEORGIA ANESTHESIA SERVICES, INC.


      Invoice Date/                Invoice Amount          Amount Paid From     Amount
       Notice Date                                          Trust Account/     Remaining
                                                            Authorized to be    Unpaid
                                                            Paid by Debtor
                                                            Pursuant to the
                                                                Order
  11/9/18 – 11/14/18           $     9,997.47              $     0.00          $ 9,997.47
  (October time)
  12/5/18 – 12/10/18           $ 14,465.00                 $     0.00          $14,465.00
  (November time)
  1/23/19 – 1/24/19            $     9,376.16              $     0.00          $ 9,376.16
  (December time)
  2/19/19 – 2/19/19            $     3,729.10              $     0.00          $ 3,729.10
  (January time)
  2/25/19                      $     7,178.55                    N/A           $ 7,178.55
  (February 1st to 15th)
  Total (this Application) $ 44,746.28                     $     0.00          $44,746.28
  Total (1st Application)      $112,383.39                 $44,000.00          $68,383.39
  Total                        $157,129.67                 $44,000.00          $113,129.67


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                                          24 Amherst, LLC


      Invoice Date/               Invoice Amount           Amount Paid From     Amount
       Notice Date                                          Trust Account/     Remaining
                                                            Authorized to be    Unpaid
                                                            Paid by Debtor
                                                            Pursuant to the
                                                                Order
  11/9/18 – 11/14/18           $ 385.00                    $   0.00            $ 385.00
  (October time)
  12/5/18 – 12/10/18           $ 175.00                    $   0.00            $ 175.00
  (November time)
  1/23/19 – 1/24/19                       N/A                         N/A          N/A
  (December time)
  2/19/19 – 2/19/19            $ 385.00                    $   0.00            $ 385.00
  (January time)
  2/25/19                                 N/A                         N/A          N/A
  (February 1st to 15th)
  Total (this Application) $ 945.00                        $   0.00            $ 945.00
  Total (1st Application)      $2,141.30                   $   0.00            $2,141.30
  Total                        $3,086.30                   $   0.00            $3,086.30




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                                   HOLLADAY HOLDINGS, LLC


      Invoice Date/                 Invoice Amount        Amount Paid From     Amount
       Notice Date                                         Trust Account/     Remaining
                                                           Authorized to be    Unpaid
                                                           Paid by Debtor
                                                           Pursuant to the
                                                               Order
  11/9/18 – 11/14/18           $     415.00               $   0.00            $ 415.00
  (October time)
  12/5/18 – 12/10/18           $     175.00               $   0.00            $ 175.00
  (November time)
  1/23/19 – 1/24/19                      N/A                     N/A              N/A
  (December time)
  2/19/19 – 2/19/19            $     665.00               $   0.00            $ 665.00
  (January time)
  2/25/19                                N/A                     N/A              N/A
  (February 1st to 15th)
  Total (this Application) $1,255.00                      $   0.00            $1,255.00
  Total (1st Application)      $2,271.60                  $   0.00            $2,271.60
  Total                        $3,526.60                  $   0.00            $3,526.60




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                                            10.

       Applicant seeks approval for Debtors to pay the attorneys’ fees awarded, but not yet

paid, as reflected in paragraphs 7, 8 and 9 hereof. Applicant has agreed to a payment plan

of $4,000.00 per month until the fees are paid in full for Northeast.

                                            11.

       Applicant shows that Northeast has provided payments to Applicant in the amount

of $4,000.00 per month, pursuant to the terms of cash collateral orders in place at the time

of payment, and that Applicant has not received any compensation from any other source.

       WHEREFORE, Small Herrin, LLP, prays the Court:

       (1)    hold a hearing on this Application;

       (2)    admit this Application and supporting documents into evidence at such

              hearing;

       (3)    award Applicant the compensation and reimbursement of expenses on a

              final basis as requested herein;

       (4)    allow Debtors to make payment for any remaining balance, pursuant to the

              terms of a confirmed Chapter 11 plan and pursuant to the agreement between

              the parties at the rate of $4,000.00 per month for Northeast; and




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      (5)   grant Applicant such other and further relief as is just and proper.

        This 11th day of March 2019.


                                        SMALL HERRIN, LLP
                                        Bankruptcy Counsel for Debtors

                                        By: _____/s/ Anna M. Humnicky________
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                                 APPENDIX "A"
                          APPLICABLE LEGAL PRINCIPLES

        Compensation for professional persons is expressly authorized by 11 U.S.C.

Section 330. Using the procedure set out in Bankruptcy Rule 2016, professional persons

may receive:

               reasonable compensation for actual, necessary services
               rendered by such ... professional person ... based on the nature,
               the extent and the value of such services, the time spent on such
               services, and the cost of comparable services other than in a case
               under this title....

11 U.S.C. § 330(a)(1).

        In determining the amount of reasonable compensation which should be awarded

to special counsel in a bankruptcy case, this Court should utilize the "lodestar" approach as

adopted by the United States Supreme Court in Hensley v. Eckerhart, 461 U.S. 424, 103

S.Ct. 1933 (1983) ("Hensley"), as modified in subsequent decisions. See Blum v. Stenson,

465 U.S. 886, 104 S.Ct. 1541 (1984); City of Riverside v. Rivera, 477 U.S. 561, 106 S.Ct.

2686 (1986); Pennsylvania v. Delaware Valley Citizens' Council, 478 U.S. 546, 106 S.Ct.

3088 (1986) ("Delaware"); Pennsylvania v. Delaware Valley Citizens' Council, 483 U.S.

711, 107 S.Ct. 3078 (1987); Blanchard v. Bergeron, 489 U.S. 87, 109 S.Ct. 939 (1989);

Missouri v. Jenkins, 491 U.S. 274, 109 S.Ct. 2463 (1989) ("Jenkins").

        This approach produces an estimate (this estimate is called the "lodestar") of the

fees to be awarded by multiplying the number of hours reasonably expended on the litigation

by a reasonable hourly rate. Hensley, 103 S.Ct. at 1939. The resulting calculation carries
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a "strong presumption" of being the reasonable fee to be awarded. Delaware, 106 S.Ct. at

3098. In certain "rare" and "exceptional" cases, however, the lodestar figure may be

adjusted upward or downward where such adjustment is supported by both "specific

evidence" on the record and "detailed findings" by the Court. Id. at 3098. Hence, the

lodestar calculation revolves around a two-part determination of: (1) what constitutes a

"reasonable hourly rate" and (2) what constitutes hours "reasonably expended."

           The Eleventh Circuit Court of Appeals provided the benefit of its analysis with

respect to the above-referenced Supreme Court decisions in the case of Norman v. Housing

Authority of Montgomery, 836 F.2d 1292 (11th Cir. 1988) ("Norman"). In Norman, the

Eleventh Circuit reiterated the Supreme Court's declaration that the lodestar figure

"presumptively includes all of the twelve factors 1 derived from the ABA Code of

Professional Responsibility DR 2-106 (1980) and adopted in Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714, 717 (5th Cir. 1974) ("Johnson"), 2 except on rare occasions the

factor of results obtained and, perhaps, enhancement for contingency." Norman, 836 F.2d

at 1299.

           Commenting on the first part of the lodestar calculation, the Eleventh Circuit

determined that "[a] reasonable hourly rate is the prevailing market rate in the relevant legal

community for similar services by lawyers of reasonably comparable skills, experience, and


   1       The 12 factors are discussed in detail herein.
   2
             The Johnson decision was made applicable in the bankruptcy context by In re First Colonial
Corporation of America, 544 F.2d 1291 (5th Cir. 1977). Both of these "former Fifth" Circuit decisions were
adopted as binding "precedent in the Eleventh Circuit, for this court, the district courts, and the bankruptcy
courts in this circuit." Bonner v. City of Prichard, Alabama, 661 F.2d 1206, 1207 (11th Cir. 1981).


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reputation." Norman, 836 F.2d at 1299 (citing Blum v. Stenson, 465 U.S. at 895-96, n. 11,

104 S.Ct. at 1547 n. 11) (additional citation omitted). The Court held that evidence of

such rates could be established "through direct evidence of charges by lawyers under similar

circumstances or by opinion evidence." Id.

          The Eleventh Circuit reaffirmed its belief that "at least some" of the factors

enunciated in Johnson retained their beneficial value to courts attempting to establish an

hourly rate. 3

          As to the possible adjustments which could be made to the lodestar, the Eleventh

Circuit Court of Appeals reasoned that if the result was "excellent" the Court should

compensate for all hours reasonably expended, while if the result was "partial or limited

success" then the lodestar should be reduced accordingly to an amount that is not excessive.

Id. at 1302 (citing Hensley, 461 U.S. at 436-37, 103 S.Ct. at 1941 and Popham v. City of

Kennesaw, 820 F.2d 1570, 1578 (11th Cir. 1987)).

          Finally, the Eleventh Circuit held that consideration must be given to the issue of

"delay" in the receipt of payment by counsel for the prevailing party. Specifically, in the

Eleventh Circuit, a court should "take into account the time value of money and the effects

of inflation and generally award compensation at current rates rather than at historic rates."

Norman, 836 F.2d at 1302 (citations omitted). See Jenkins, 109 S.Ct. at 2468-2469.



   3       "We still believe that at least some of the Johnson factors have utility in establishing the hourly
rate. In evaluating comparability of the market rates being attested to, the district court may wish to consider
any of the Johnson factors to the extent that they suggest that comparables offered may not be relevant to
the issues before the court or as they may affect the weight to be given to the comparables being offered the
court." Norman, 836 F.2d at 1299-1300.


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         Examples of application of the guidelines contained in Hensley and Norman can

be found in a number of decisions in this circuit. See Florida Pawnbrokers v. Fort

Lauderdale, 711 F.Supp. 1084 (S.D. Fla. 1989); Lindsey v. Anderson & Sons Auto Sales,

Inc., 690 F.Supp. 1028 (N.D. Ga. 1988); In re Lanier Spa, Inc., 99 Bankr. 490 (Bankr. N.D.

Ga. 1989).

         The relevance and significance of each Johnson and related factor in this case is

discussed hereinafter.

         1. Amounts involved and results achieved. A summarization of the most

significant services performed by Applicant appears in paragraph 6 of this Application, and

Applicant’s services are set forth in detail in Appendix “B.”

         2. Time and labor involved. For the period October 1, 2018, through February

15, 2019, Applicant devoted 134.7 hours of recorded time as bankruptcy counsel for Debtor

Northeast Georgia Anesthesia Services, Inc.; 2.7 hours of recorded time as bankruptcy

counsel for Debtor 24 Amherst, LLC; and 3.6 hours of recorded time as bankruptcy counsel

for Debtor Holladay Holdings, LLC.

         It has been frequently held "that there can be no fee awarded on the basis of

unrecorded or estimated time." In re Garland Corp., 8 Bankr. 826, 829-830 (Bankr. D.

Mass. 1981) ("Garland"). At the same time this Court, based on its knowledge and

experience, is aware that despite diligent efforts of counsel to keep complete time records,

there are inevitably some hours that do not get recorded. In its discussion of this factor, the

Court in Johnson stated:



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              Although hours claimed or spent on a case should not be the
              sole basis for determining a fee, (citation omitted), they are a
              necessary ingredient to be considered.

Johnson, 488 F.2d at 717.

        Because of its experience and expertise, Applicant submits that less time was

devoted to this case than would have been expended by attorneys of lesser experience and

expertise. In considering the time spent as an element of fee awards, the court in Garland

stated "the Court should not penalize and, in fact, should reward diligence, experience, skill

and results." Garland, 8 Bankr. at 830.

        3. Novelty and complexity of issues involved. Applicant acknowledges that, for

the experienced bankruptcy practitioner, many aspects of a bankruptcy case would be

termed "routine." Conversely, almost every case has issues arise which, whether resolved

through negotiations or litigation, add a new wrinkle to otherwise "routine" matters. In

these cases, the sheer number of business locations, issues related to the pending Medicare

audit and appeal thereof, Qui Tam investigation, issues related to proposing a Joint Plan of

Reorganization for three related Debtors, the interplay between Debtors and their related

non-Chapter 11 debtor procedure centers, as well as the issues which have arisen related to

the healthcare industry as well disputes with vendors, which have added a level of

complexity to the cases.

        4. Skill requisite to perform the legal services. Debtors’ personnel did not have

any Chapter 11 experience. The first skill required of Applicant was the ability to educate

Debtors and their key personnel as to various substantive and procedural aspects of a

Chapter 11 case.

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        Substantial skill has been required of Applicant and has been applied in various

matters. Applicant has exercised its skills in efficiently addressing the many issues arising

from Debtors’ operations at 6 locations. Applicant has also negotiated plan treatment for

its major secured creditor Pinnacle Bank, as well as Medicare, McKesson, and BankSouth,

as well as the Office of the United States Trustee on behalf of the general unsecured creditor

class for Northeast.

        Negotiating skills are required at various stages of the case. A predecessor to

utilization of negotiating skills is the ability to analyze facts and develop the legal issues

related to the facts to formulate a negotiating stance. Applicant has engaged in extensive

negotiations with various creditors of Debtors, both secured and unsecured.

        5. Preclusion of other employment. The Court is well familiar with the fact that

at various stages in a Chapter 11 case almost daily "hands on" attention by counsel is

required. A multitude of time-sensitive issues have arisen in this case which required

immediate attention and action, as described in detail in other portions of this Application.

        6. Customary fees. By statute, fees are to be considered based on "the cost of

comparable services other than in a case under this title." 11 U.S.C. Section 330(a)(1). "The

scope of the inquiry as to comparable rates must ... take into consideration the billing

practice in the entire legal community." In re City Planners & Developers, Inc., 5 Bankr.

217, 219 (Bankr. D.P.R. 1980). It is inconsistent with, and contrary to, Johnson for fees to

be "set in accordance with maximum limits of the district court rather than as a result of a

balancing of all of the Johnson factors." In the Matter of U.S. Golf Corporation, 639 F.2d

1197, 1206 (5th Cir. 1981).

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         7. Fixed or contingent fee. Fees for Applicant "... are necessarily contingent to

some degree." Applicant in this case, as in other bankruptcy cases, had no assurance of what

its compensation would be or what assets would be available for expenses of administration.

This "contingency" factor should, therefore, be taken into account here. See In re Warrior

Drilling & Engineering Co., Inc., 9 Bankr. 841, 849 (Bankr. N.D. Ala. 1981) for a good

discussion of the above principles.

         8. Time Limitations. Applicant has faced certain important deadlines in this case,

including the relatively short time frame for addressing plan and disclosure statement

matters after Pinnacle Bank declined to consent to further exclusivity deadlines for the filing

of the plan.

         9. Experience, reputation and ability of the attorneys. Applicant is a law firm

whose members have been involved in bankruptcy practice for some time. Many attorneys

in the law firm devote the majority of their practice to creditors’ rights, debtor relief and

bankruptcy cases.

         Anna Humnicky, a founding partner of Applicant, received her J.D., cum laude,

and M.B.A. in 2002 from Georgia State University. She graduated from Ball State

University in 1995, with a B.S. in Sports Administration. She served as Law Clerk to the

Honorable Judge John T. Laney, III, United States Bankruptcy Court, Middle District of

Georgia, from 2002-2004. Her practice areas include commercial litigation, bankruptcy

law, and creditors’ rights, with a focus on secured creditors' rights in bankruptcy,

representation of debtors-in-possession in Chapter 11 reorganizations, and commercial

litigation.

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        Ms. Humnicky has lectured at Georgia State University College of Law, Emory

University College of Law and Mercer University College of Law, at continuing legal

education seminars, served as a panelist for panel discussions, and served as a moderator

for round-table discussions related to bankruptcy issues, as well as co-authored various

publications for continuing legal education seminars related to bankruptcy issues. She was

elected to a second three-year term on the Georgia State University Alumni Association

Board of Directors in 2015 and currently serves at its Secretary/Treasurer. Ms. Humnicky

recently joined the Executive Committee for the W. Homer Drake, Jr. Georgia Bankruptcy

American Inn of Court. Ms. Humnicky was also named a "Georgia Super Lawyers - Rising

Star" in the annual survey produced by legal publisher Law & Politics in 2010.

        Applicant submits that the services which it performed as counsel for Debtors are

of the highest quality, and that because of its skill and expertise less time was devoted than

would have been devoted by attorneys of lesser expertise. Therefore, the Court should not

determine compensation for Applicant solely on the basis of time devoted.

        10. Prior government investigation, indictment, criminal prosecution and

related civil actions. Applicant submits that this factor has not been applicable in this case

to date, except to the extent that Medicare redetermined the alleged overpayment and began

recoupment in mid-July, which caused Northeast to file the Medicare A.P., and Northeast

also learned of Qui Tam investigations when Medicare and the State of Georgia filed proofs

of claim related to the same.

        11. Undesirability of this case. This factor is not applicable in this case.



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        12. Nature and length of relationship between client and attorney. Applicant’s

attorney, Anna M. Humnicky, when she worked at her prior firm, provided brief pre-petition

counseling in preparation for this Chapter 11 case.

        13. Nature of the fee and awards in similar litigation. By statute, counsel for a

debtor is entitled to "reasonable compensation." 11 U.S.C. section 330 (a)(1). In making

this analysis "[T]he reasonableness of a fee may also be considered in the light of awards

made in similar litigation within and without the court's circuit." Johnson, 488 F.2d at 719.

        This Court is familiar with "reasonable hourly rates" awarded in other bankruptcy

cases. "Because judges are themselves familiar with legal fees, expert testimony is not

required, although it may of course be taken." In the Matter of U.S. Golf Corporation, 639

F.2d 1197, 1202 (5th Cir. 1981).

        14. Duplicative and non-legal services. This factor arises in situations where an

officer "of the court may be furnishing services to the estate in more than one capacity..."

In the Matter of First Colonial Corp. of America, 544 F.2d 1291, 1299 (5th Cir. 1977).

Applicant submits that this factor is not applicable in this case, in that Applicant has not

duplicated efforts with other counsel for Debtors.




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                                   APPENDIX “B”

  ITEMIZATION OF ADDITIONAL PROFESSIONAL SERVICES RENDERED

                          AND EXPENSES (INVOICES)

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                      SUMMARY OF FEES - BY PROJECT

           NORTHEAST GEORGIA ANESTHESIA SERVICES, INC.

                              CASE ADMINISTRATION

 ATTORNEY/PARALEGAL                    HOURS              TOTAL
 Anna M. Humnicky                       21.1              $7,385.00
 Karla L. Lemons                           .3             $   45.00
 (Paralegal)
 TOTAL                                   21.4             $7,430.00

             PROFESSIONAL EMPLOYMENT & COMPENSATION

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                       13.5             $4,725.00

 TOTAL                                   13.5            $4,725.00


                                 PINNACLE BANK

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                       7.4              $2,590.00
 TOTAL                                   7.4             $2,590.00


                                OTHER CREDITORS

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                       10.0             $3,500.00
 Anna M. Humnicky/$300                   1.2             $ 360.00
 TOTAL                                   11.2            $3,860.00


                          MCKESSON CORPORATION

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                       4.7              $1,645.00
 TOTAL                                   4.7             $1,645.00
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                                     LANDLORDS

 ATTORNEY                               HOURS             TOTAL
 Anna M. Humnicky                        5.2              $1,820.00
 TOTAL                                   5.2              $1,820.00



                           MEDICARE AUDIT/APPEAL

 ATTORNEY                               HOURS             TOTAL
 Anna M. Humnicky                        13.4             $4,690.00
 TOTAL                                   13.4             $4,690.00



                      PLAN & DISCLOSURE STATEMENT

 ATTORNEY/PARALEGAL                     HOURS             TOTAL
 Gus H. Small                             2.4             $ 1,200.00
 Anna M. Humnicky/$300                   55.3             $16,590.00
 Karla L. Lemons (Paralegal)               .2             $    30.00
 TOTAL                                   57.9             $17,820.00


TOTAL HOURS                                                134.7
TOTAL FEES                                                 $44,580.00
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                                 24 AMHERST, LLC

                              CASE ADMINISTRATION

 ATTORNEY/PARALEGAL                     HOURS            TOTAL
 Anna M. Humnicky                         2.4            $ 840.00
 TOAL                                     2.4            $ 840.00

                       PLAN & DISCLOSURE STATEMENT

 ATTORNEY                               HOURS            TOTAL

 Anna M. Humnicky                          .3            $105.00
 TOTAL                                     .3            $105.00

TOTAL HOURS                                               2.7
TOTAL FEES                                                $945.00
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                         HOLLADAY HOLDINGS, LLC

                              CASE ADMINISTRATION

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                       3.2              $1,120.00
 TOTAL                                   3.2             $1,120.00



             PROFESSIONAL EMPLOYMENT & COMPENSATION

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky/$300                   .1              $ 30.00
 TOTAL                                    .1             $   30.00



                      PLAN & DISCLOSURE STATEMENT

 ATTORNEY                              HOURS             TOTAL
 Anna M. Humnicky                        .3              $105.00
 TOTAL                                    .3             $105.00

TOTAL HOURS                                               3.6
TOTAL FEES                                                $1,255.00
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                                              APPENDIX "C"

               SUMMARY OF RECORDED TIME AND HOURLY RATES

                NORTHEAST GEORGIA ANESTHESIA SERVICES, INC.

                                                                 Customary                      Requested
Attorney/Paralegal                    Time (Hours)               Hourly Rate                    Amount

Gus H. Small                                 2.4                  $500.00                   $ 1,200.00

Anna M. Humnicky                           75.3                   $350.00                   $26,355.00

Anna M. Humnicky 1                          56.5                  $300.00                   $16,950.00

Karla L. Lemons (Paralegal)                   .5                  $150.00                   $      75.00

______________________________________________________________________

TOTAL                                     134.7                                            $44,580.00

                                            24 AMHERST, LLC

Attorney                              Time (Hours)                Hourly Rate                   Amount

Anna M. Humnicky                             2.7                  $350.00                    $ 945.00

______________________________________________________________________

TOTAL                                       2.7                                              $ 945.00




1
  Ms. Humnicky’s time was inadvertently billed at $300.00 per hour in certain matters in NEGAS and HHL, rather
than her customary rate of $350.00 per hour. Applicant is not requesting any additional amounts be paid related to
this error.
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                          HOLLADAY HOLDINGS, LLC

Attorney/Paralegal             Time (Hours)      Hourly Rate           Amount

Anna M. Humnicky                3.5              $350.00           $1,225.00

Anna M. Humnicky                 .1              $300.00           $    30.00

______________________________________________________________________

TOTAL                           3.6                                $1,255.00
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                                 APPENDIX “D”
                              SUMMARY OF EXPENSES

           NORTHEAST GEORGIA ANESTHESIA SERVICES, INC.

 EXPENSE                                                            TOTAL
 Postage                                                            $ 48.82
 Copies                                                             $101.30
 Fed Ex                                                             $ 16.16
 TOTAL                                                              $166.28
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                        APPENDIX "E"
 STATEMENT REQUIRED BY 11 U.S.C. § 504 AND BANKRUPTCY RULE 2016


       Anna M. Humnicky and Small Herrin, LLP ("Applicant"), have served as bankruptcy

counsel for Debtors from April 1, 2018 to February 15, 2019, and make this Application for

allowance of compensation for professional services rendered to Debtors pursuant to the

Orders authorizing Ms. Humnicky’s prior firm’s retention and the related substitution of

counsel. All services for which compensation is requested were performed pursuant to said

Orders and not on behalf of creditors or any other person or persons.

       Applicant shows that interim compensation has previously been awarded Applicant

from the Estate, as follows: $106,365.00, and reimbursement of related, necessary expenses

in the sum of $6,018.39, incurred by Applicant as bankruptcy counsel for Northeast

Anesthesia Services, Inc. (“Northeast”), during the period April 1, 2018, through and

including September 30, 2018; $2,135.00, and reimbursement of related, necessary

expenses in the sum of $6.30, incurred by Applicant as bankruptcy counsel for 24 Amherst,

LLC, during the period April 1, 2018, through and including September 30, 2018; and

$2,265.00, and reimbursement of related, necessary expenses in the sum of $6.60, incurred

by Applicant as bankruptcy counsel for HHL during the period April 1, 2018, through and

including September 30, 2018. Applicant has received $44,000.00 from Northeast, pursuant

to terms of the Professional Fee Order and the Order approving the First Interim Fee

Application. No compensation from any other source, other than Northeast for the payment

of its fees and expenses. Compensation awarded by the Court will be shared only by partners

and regular associates of the law firm.
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                                    VERIFICATION

       Pursuant to 28 U.S.C. § 1746, the undersigned does hereby declare under the penalty

of perjury under the laws of the United States of America that the statements contained

below and herein are true and correct. The undersigned states that she is an attorney with

the law firm of Small Herrin LLP, and her wholly owned entity, HAM Atlanta, LLC, is a

partner of Small Herrin, LLP, and that the annexed Application and Appendices A through

E are true to the best of her knowledge and belief.

       This 11th day of March 2019.


                                                /s/ Anna M. Humnicky
                                          Anna M. Humnicky, sole member of
                                          HAM Atlanta, LLC, partner of
                                          Small Herrin, LLP
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                             GAINESVILLE DIVISION

 IN RE:                                             CHAPTER 11

 NORTHEAST GEORGIA                                  CASE NO. 17-22189-JRS
 ANESTHESIA SERVICES, INC.
 d/b/a ANCORA PAIN RECOVERY,
 24 AMHERST, LLC, and                               CASE NO. 17-22188-JRS
 HOLLADAY HOLDINGS, LLC,                            CASE NO. 17-22190-JRS

        Debtors.                                     JOINTLY ADMINISTERED
                                                     UNDER CASE NO. 17-22189-JRS


                               CERTIFICATE OF SERVICE

         I, Anna M. Humnicky, certify that I am over the age of 18 and that: A) on March 11, 2019,
I filed and served copies of the FINAL APPLICATION FOR COMPENSATION FOR SMALL
HERRIN, LLP, AS BANKRUPTCY COUNSEL FOR DEBTORS AND DEBTORS-IN-
POSSESSION, on the parties listed in Exhibit A, by using the Bankruptcy Court’s Electronic Case
Filing program which sends a notice of the above-listed document and an accompanying link to the
document to the parties who have appeared in this case under the Bankruptcy Court’s Electronic
Case Filing program, as indicated in Exhibit A; and B) on March 11, 2019, I served copies of the
aforementioned document via First Class U.S. Mail, with adequate postage pre-paid, on the parties,
as indicated in Exhibit A.

       Dated: March 11, 2019.

                                            By: /s/ Anna M. Humnicky________
                                                   Anna M. Humnicky
                                                   Georgia Bar No. 377850

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Building 2, Suite 200
Atlanta, GA 30339
(770) 857-4770
ahumnicky@smallherrin.com
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                                    EXHIBIT A

 Northeast Georgia Anesthesia Services,      Holladay Holdings, LLC
 Inc.                                        c/o Shannon Haley
 c/o Shannon Haley                           P.O. Box 80883
 P.O. Box 80883                              Athens, GA 30608
 Athens, GA 30608
 24 Amherst, LLC                             David C. Whitridge, Esq.
 c/o Shannon Haley                           Thompson, O’Brien, Kemp & Nasuti, PC
 P.O. Box 80883                              40 Technology Parkway South
 Athens, GA 30608                            Suite 300
                                             Norcross, GA 30092
                                             Via CM/ECF – Dwhitridge@tokn.com


 David S. Weidenbaum, Esq.                   Jeffrey K. Garfinkle, Esq.
 Office of U.S. Trustee                      Buchalter, PC
 362 Richard Russell Bldg.                   18400 Von Karman Avenue
 75 Ted Turner Drive, SW                     Suite 800
 Atlanta, GA 30303                           Irvine, CA 92612
 Via CM/ECF –                                Via CM/ECF -
 David.S.Weidenbaum@usdoj.gov                jgarfinkle@buchalter.com


 James W. Hays, Esq
 Hays Potter & Martin, LLP
 Suite 300
 3945 Holcomb Bridge Rd.
 Peachtree Corners, GA 30092

 Via CM/ECF - beau@hpmlawatl.com;
 james.w.hays@gmail.com
